  4:24-cv-03123-SMB-JMD           Doc # 1     Filed: 07/09/24     Page 1 of 53 - Page ID # 1



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

AMERICAN CIVIL LIBERTIES                      )            Case No. ______________
UNION OF NEBRASKA,                            )
                                              )
                   Plaintiff,                 )            COMPLAINT AND REQUEST
                                              )            FOR DECLARATORY AND
       v.                                     )            INJUNCTIVE RELIEF
                                              )
UNITED STATES DEPARTMENT OF                   )
HOMELAND SECURITY; UNITED                     )
STATES CITIZENSHIP AND                        )
IMMIGRATION SERVICES,                         )
                                              )
                   Defendants.                )


                                     I.     INTRODUCTION

       1.      This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552

et seq. for declaratory and injunctive relief seeking to compel the release of records held by the

United States Citizenship and Immigration Services (“USCIS”), a component agency of the

Department of Homeland Security (“DHS”), regarding communications from personnel of the City

of Fremont, Nebraska and the City of Scribner, Nebraska (hereinafter "Cities”) relating to

implementation and enforcement of anti-immigrant ordinances enacted by the Cities, and the

Cities’ access to the USCIS’ Systematic Alien Verification for Entitlements (“SAVE”) program.

       2.      On June 21, 2010, the city of Fremont, located in Dodge County, Nebraska, enacted

an ordinance that requires prospective renters in Fremont to obtain occupancy licenses (“Fremont

Ordinance”). A copy of the Fremont Ordinance is included as Exhibit A.

       3.      The application for the occupancy license requires the prospective renter to respond

to questions about their immigration status and authorizes the Fremont Police Department to enter

into a Memorandum of Understanding (“MOU”) with DHS to access the SAVE program, which




                                                  1
      4:24-cv-03123-SMB-JMD               Doc # 1    Filed: 07/09/24     Page 2 of 53 - Page ID # 2



    is administered by USCIS, to determine whether an individual is “lawfully present in the United

    States.”

            4.       On November 6, 2018, the city of Scribner, located in Dodge County, Nebraska

    passed an ordinance substantially similar to the Fremont Ordinance (“Scribner Ordinance”). A

    copy of the Scribner Ordinance is included as Exhibit B.

            5.       On November 9, 2021, the ACLU of Nebraska (ACLU-NE) submitted a FOIA

    request (“Request”) to USCIS seeking records of emails and letters between officials, agents,

    contractors, or individuals on behalf of the Cities and DHS-USCIS regarding implementation or

    enforcement of the Fremont Ordinance and the Scribner Ordinance (altogether, the “Ordinances”).

    A copy of the Request is included as Exhibit C. The Request also seeks records of all of the Cities’

    MOUs, including approved and executed MOUs, to register with or access the SAVE program.

            6.       To date, USCIS has failed to respond to produce the documents sought in the

    Request in any way, let alone process the Request “promptly,” as required by FOIA for all

    requests. 1

            7.       ACLU-NE seeks the responsive documents to the Request to further public

    understanding of the implementation and enforcement of the Ordinances.

            8.       Plaintiff now files suit under FOIA for declaratory and injunctive relief, seeking the

    immediate release of the records within the contours of its Request.

                                    II.      JURISDICTION AND VENUE

            9.       This Court has jurisdiction pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §

    1331.

            10.      This Court has jurisdiction to grant declaratory and further proper relief pursuant to

    5 U.S.C. § 552(a)(4)(B), 28 U.S.C. §§ 2201-2202 and FED. R. CIV. P. 57 and 65.



1
    See 5 U.S.C. § 552(a)(3)(A).
                                                      2
      4:24-cv-03123-SMB-JMD                   Doc # 1         Filed: 07/09/24       Page 3 of 53 - Page ID # 3



             11.      Venue lies in this District under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391(e)

             because Plaintiff ACLU-NE resides in this district.

                                                       III.        PARTIES

             12.      Plaintiff ACLU-NE is a non-profit, nonpartisan 26 U.S.C. § 501(c)(4) organization

    dedicated to the constitutional principles of liberty and equity.

             13.      Plaintiff ACLU-NE is an affiliate of the American Civil Liberties Union

    (“ACLU”). The ACLU is committed to ensuring that the American government complies with the

    U.S. Constitution and laws in matters that affect civil liberties and human rights. The ACLU is

    also committed to the principles of government transparency and accountability and seeks to

    ensure that the American public is informed about the conduct of its government in matters that

    affect civil liberties and human rights.

             14.      ACLU-NE is “primarily engaged in disseminating information” within the meaning

    of FOIA. 2 Obtaining information about government activity, analyzing that information, and

    widely publishing and disseminating that information to the press and public are critical and

    substantial components of the ACLU-NE’s work and are among its primary activities. 3

             15.       ACLU-NE does this work alone and with our national partners and allies. ACLU-

    NE has two full-time communications specialists, and all its attorneys are regularly called upon

    to write reports, give public and private educational presentations, or give interviews. ACLU-NE

    regularly creates and disseminates works in the form of presentations, reports, articles,



2
    5 U.S.C. § 552(a)(6)(E)(v)(II); see also 6 C.F.R. § 5.5(e)(1)(ii).
3
  See ACLU v. U.S. Dep’t of Justice, 321 F. Supp. 2d 24, 29 n.5 (D.D.C. 2004) (quoting EPIC v. Dep’t of Defense, 241
F.Supp.2d 5, 11 (D.D.C. 2003)) (finding non-profit public interest group that “gathers information of potential interest
to a segment of the public, uses its editorial skills to turn the raw material into a distinct work, and distributes that work
to an audience” to be primarily engaged in disseminating information); see also Brennan Ctr. for Just. at NYU Sch. of
L. v. Dep't of Com., 498 F. Supp. 3d 87, 98 (D.D.C. 2020); Protect Democracy Project, Inc. v. U.S. Dep't of Def., 263 F.
Supp. 3d 293, 298-99 (D.D.C. 2017); Leadership Conf. on C.R. v. Gonzales, 404 F. Supp. 2d 246, 260 (D.D.C.
2005).
                                                               3
      4:24-cv-03123-SMB-JMD            Doc # 1       Filed: 07/09/24        Page 4 of 53 - Page ID # 4



    interviews, testimony, social media, and blog posts to educate the public about the activities of

    the United States government. ACLU-NE also regularly publishes “know your rights” materials,

    fact sheets, and educational brochures and pamphlets designed to educate the public about civil

    liberties issues and government policies that implicate civil rights and civil liberties. These

    materials are intended to be educational and widely disseminated to the public. The ACLU-NE

    website had over 266,000 unique views in 2023 and 6 of its top 20 most viewed pages in 2023

    were news, “know your rights” articles, or press releases.

           16.      ACLU-NE maintains a principal place of business in Lincoln, Nebraska.

           17.      Defendant USCIS is a component of DHS and an agency within the meaning of

    5 U.S.C. § 552(f).

           18.     Defendant USCIS was founded in 2003 to administer immigration benefit

    applications 4 and currently also administers and provides training, support, and services to

    participating agencies utilizing the SAVE program. 5 USCIS is headquartered in Camp Springs,

    Maryland. USCIS is a component of DHS.

           19.     Defendant DHS was founded in 2003. DHS is headquartered in Washington, D.C.

                                           IV.      STATEMENT OF FACTS

           The Fremont Ordinance and Scribner Ordinance

           20.     On June 21, 2010, the City of Fremont, located in Dodge County, Nebraska,

    enacted the Fremont Ordinance.

           21.     The Fremont Ordinance requires prospective renters in Fremont to answer

    questions about their immigration status. 6 If the prospective renter attests that they are not a U.S.

    citizen or unsure of their immigration status, and cannot provide documentation of lawful presence,


4
  USCIS Policy Manual Vol. 1 Part A, Ch. 1, https://www.uscis.gov/policy-manual/volume-1-part-a-chapter-1.
5
  USCIS, SAVE, last visited July 9, 2024, https://www.uscis.gov/save.
6
  See Ex. A at A-4.
                                                       4
      4:24-cv-03123-SMB-JMD                Doc # 1        Filed: 07/09/24          Page 5 of 53 - Page ID # 5



    then the Fremont Ordinance tasks the Fremont Police Department with ascertaining from the

    federal government “whether the occupant is an alien lawfully present in the United States.” 7

           22.      The Fremont Police Department may enter into a MOU with DHS to access the

    SAVE program. 8

           23.      The SAVE program is administered by USCIS. 9

           24.      On November 6, 2018, the city of Scribner, Nebraska passed the Scribner

    Ordinance, an ordinance substantially similar to the Fremont Ordinance.

           25.      Disclosure of the requested documents is necessary for full and fair public

    understanding of implementation and enforcement of the Ordinances.

           Plaintiff’s FOIA Request

           26.      On November 9, 2021, Plaintiff submitted the Request to USCIS National Records

    Center via e-mail to uscis.foia@uscis.dhs.gov.

           27.      Plaintiff sought a waiver or reduction of fees because the disclosure of the requested

    records is “likely to contribute significantly to public understanding of the operations or activities

    of the government and is not primarily in the commercial interest of the requester.” 10 Plaintiff also

    sought limitation of fees because Plaintiff qualifies as a “representative of the news media” and

    the records are not sought for commercial use. 11

           28.      Plaintiff sought expedited processing pursuant to 5 U.S.C. § 552(a)(6)(E) because

    Plaintiff is “primarily engaged in disseminating information” and the requested information is




7
  See id. at A-5.
8
  Id.
9
  See USCIS, SAVE, last visited July 9, 2024, https://www.uscis.gov/save.
10
   5 U.S.C. § 552(a)(4)(A)(iii); see also 5 U.S.C. § 552(a)(4)(A)(ii)(III); 6 C.F.R. § 5.11(k)(2)-(3).
11
   5 U.S.C. § 552(a)(4)(A)(ii)(II); see also 6 C.F.R. § 5.11(k).
                                                            5
     4:24-cv-03123-SMB-JMD                 Doc # 1         Filed: 07/09/24   Page 6 of 53 - Page ID # 6



 needed “urgen[tly]… to inform the public concerning actual or alleged Federal Government

 activity.” 12

          29.       On November 10, 2021, Plaintiff received an email providing the Request control

 number COW2021004654 and requesting clarification of the records sought within thirty working

 days. This request for clarification is attached as Exhibit D.

          30.       On December 6, 2021, less than thirty working days since Defendant’s request for

 clarification, Plaintiff responded with a clarification of the documents sought. This clarification is

 attached as Exhibit E.

          31.       On December 6, 2021, Defendant sent an automatic response notification via email

 indicating it had received the clarification. This automatic response is attached as Exhibit F.

          32.       On January 10, 2022, Plaintiff sent an email to foiapaquestions@uscis.dhs.gov and

 foiasig.nrc@uscis.dhs.gov seeking a response to the Request. This follow-up is attached as Exhibit

 G. Plaintiff did not receive a response to its follow up.

          33.       Plaintiff has not received further communications from Defendants since receiving

 the auto response on December 6, 2021 and has not received any portion of the records described

 in the Request.

          34.       The twenty-day statutory period to respond to Plaintiff’s request 13 has elapsed with

 no response or determination from Defendants.

          35.       Defendants have neither released the requested records nor explained their failure

 to do so.

          36.       Because Defendants have failed to respond to Plaintiff’s Request within the

 applicable statutory and regulatory periods, any administrative remedies are deemed exhausted. 14


12
   5 U.S.C. § 552(a)(6)(E)(v)(II); see also 6 C.F.R. § 5.5(e)(1)(ii).
13
   See 5 U.S.C. (a)(6)(A)(i).
14
   5 U.S.C. § 552(a)(6)(C)(i).

                                                             6
  4:24-cv-03123-SMB-JMD             Doc # 1    Filed: 07/09/24     Page 7 of 53 - Page ID # 7



       37.     Plaintiff faces ongoing and irreparable harm by Defendants’ failure to provide a

timely response to their Request.

                                          V.         CLAIMS
                                       FIRST CLAIM
                Violation of the Freedom of Information Act, 5 U.S.C. § 552:
               Failure to Conduct an Adequate Search for Responsive Records

       38.     Plaintiff incorporates each and every allegation contained in the preceding

paragraphs.

       39.     Defendants have custody and control over the records Plaintiff seeks to make

publicly available under 5 U.S.C. § 552(a)(2); 6 C.F.R. § 5.4 et seq.

       40.     Defendants are obligated under 5 U.S.C. § 552(a)(3) to conduct a reasonable search

for records responsive to Plaintiff’s Request. Defendants failed to conduct such a search.

       41.     Defendants possess the records Plaintiff seeks and Plaintiff has a legal right to

obtain such records. No legal basis exists for Defendants’ failure to search for such records.

       42.     Defendants’ failure to conduct a reasonable search for records responsive to

Plaintiff’s Request violates 5 U.S.C. § 552(a)(3).

                                     SECOND CLAIM
                Violation of the Freedom of Information Act, 5 U.S.C. § 552:
      Failure to Make a Determination and Promptly Produce Responsive Documents

       43.     Plaintiff incorporates each and every allegation contained in the preceding

paragraphs.

       44.     Defendants are obligated under 5 U.S.C. § 552(a)(6)(A)(i) to make a determination

on Plaintiff’s Request within twenty business days. In unusual circumstances, Defendant may

invoke an extension no longer than ten days under 5 U.S.C. § 552(a)(6)(B)(i).

       45.     Defendants have failed to make a determination within thirty days, the maximum

amount of time permitted under the statute.

                                                7
  4:24-cv-03123-SMB-JMD            Doc # 1     Filed: 07/09/24     Page 8 of 53 - Page ID # 8



       46.      Defendants are obligated to produce responsive records under 5 U.S.C. §

552(a)(3)(A).

       47.      Defendants have failed to promptly produce responsive records.

       48.      Defendants’ failure to make a determination within the statutory time frame and

produce responsive records promptly violates 5 U.S.C. §§ 552(a)(3)(A) and (a)(6)(A)(i).

                                   VI.     RELIEF REQUESTED

       WHEREFORE, Plaintiff respectfully requests that the Court:

             a. Order Defendants to conduct a search for records responsive to the Request filed

                by Plaintiffs under 5 U.S.C. § 552(a)(3);

             b. Order Defendants to produce all records responsive to Plaintiff’s Request promptly

                or on an expedited schedule established by the Court;

             c. Enjoin Defendants from improperly withholding records;

             d. Declare that Defendants’ failure to conduct an adequate search violates 5 U.S.C. §

                552(a)(3);

             e. Declare that Defendants’ failure to promptly produce records responsive to

                Plaintiff’s Request violates 5 U.S.C. §§ 552(a)(3)(A) and (a)(6)(A)(i);

             f. Award Plaintiff reasonable attorneys’ fees and other litigation costs pursuant to 5

                U.S.C. § 552(a)(4)(E) and any other applicable statute or regulation; and

             g. Grant such other relief as the Court may deem just, equitable, and appropriate.




                                                 8
4:24-cv-03123-SMB-JMD        Doc # 1       Filed: 07/09/24       Page 9 of 53 - Page ID # 9



      Dated this 9th day of July, 2024.

                                                    American Civil Liberties Union Foundation of
                                                    Nebraska, Plaintiff

                                          By:       /s/ Dylan Severino
                                                    Dylan Severino, No. 27932
                                                    Rose Godinez, No. 25925
                                                    American Civil Liberties Union
                                                    Foundation of Nebraska, Inc.
                                                    134 S 13th Street, Suite 1010
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                                                    Attorneys for Plaintiff




                                                9
4:24-cv-03123-SMB-JMD             Doc # 1      Filed: 07/09/24      Page 10 of 53 - Page ID # 10



                                ORDINANCE NO. 5165
                                                                                                         A
AN ORDINANCE OF THE CITY OF FREMONT, NEBRASKA, AMENDING THE FREMONT
MUNICIPAL CODE, ORDINANCE NO. 3139 TO PROHIBIT THE HARBORING OF ILLEGAL ALIENS
OR HIRING OF UNAUTHORIZED ALIENS, PROVIDING DEFINITIONS, MAKING PROVISION FOR
OCCUPANCY LICENSES, PROVIDING JUDICIAL PROCESS, REPEALING CONFLICTING
PROVISIONS, AND ESTABLISHING AN EFFECTIVE DATE FOR THIS ORDINANCE.

WHEREAS, Federal law requires that certain conditions be met before an alien may be authorized to be
     lawfully present in the United States. Those conditions are found principally at United States
     Code Title 8, Section 1101, et. seq., and;

WHEREAS, United States Code Title 8, Section 1324(a)(1 )(A) prohibits the harboring of illegal aliens.
     The provision of housing to illegal aliens is a fundamental component of the federal immigration
     crime of harboring, and;

WHEREAS, United States Code Title 8, Section 1324a prohibits the knowing employment of
     unauthorized aliens; and United States Code Title 8, Section 1324a(h)(2) permits state and local
     governments to suspend the business licenses of those who employ unauthorized aliens, and;

WHEREAS, The presence of illegal aliens places a fiscal burden on the City, increasing the demand for,
     and cost of, public benefits and services, and;

WHEREAS, Crimes committed by illegal aliens in the City harm the health, safety and welfare of U.S:
     citizens and aliens lawfully present in the United States, and;

WHEREAS, The employment of unauthorized aliens in the City displaces authorized United States
     workers and adversely affects their wages, and;

WHEREAS, In 1996 Congress amended the Immigration and Nationality Act to require the federal
     government to verify the immigration status of any alien upon the request of a state, county, or
     municipality, for any purpose authorized by law. United States Code Title 8, Section 1373(c).
     The federal government has established several systems to accomplish this obligation, including
     the Systematic Alien Verification for Entitlements (SAVE) Program and the Law Enforcement
     Support Center (LESC), and;

WHEREAS, This Ordinance is in harmony with-the congressional objectives of prohibiting the knowing
     harboring of illegal aliens and prohibiting the knowing employment of unauthorized aliens, and;

WHEREAS, The Secretary of the U.S. Department of Homeland Security has specifically praised and
     encouraged those states and localities that require employers to participate in the E-Verify
     Program, and;

WHEREAS, The City of Fremont shall not construe this ordinance to prohibit the rendering of emergency
       medical care, emergency assistance, or legal assistance to any person.
BE IT THEREFORE ORDAINED BY THE MAYOR AND COUNCIL OF THE CITY OF FREMONT,
NEBRASKA:

SECTION 1. That a new section §6-428 be added to the Fremont Municipal Code Ordinance No. 3139 to
provide as follows:




                                                  A-1
4:24-cv-03123-SMB-JMD             Doc # 1       Filed: 07/09/24        Page 11 of 53 - Page ID # 11



§6-428 Harboring or Hiring Illegal Aliens, Prohibited.

1. DEFINITIONS: For the purposes of this Ordinance, the following terms and phrases shall have the
meanings ascribed to them herein, and shall be construed so as to be consistent with state and federal
law, including federal immigration law:

       A.      Jllegal alien means an alien who is not lawfully present in the United States, according
               to the terms of United States Code Title 8, Section 1101 et seq. The City shall not
               conclude that an individual is an illegal alien unless and until an authorized
               representative of the City has verified with the federal government, pursuant to United
               State Code Title 8, Section 1373(c), such individual's immigration status.

        B.     Unlawfully present in the United States means unlawfully present in the United States
               according to the terms of United States Code Title 8, Section 1101 et seq. The City shall
               not conclude that an alien is unlawfully present in the United States unless and until an
               authorized representative of the City has verified with the federal government, pursuant
               to United States Code Title 8, Section 1373 (c), such alien's immigration status.

       C.      Dwelling unit means a single residential unit with living facilities for one or more
               persons, including space for living, sleeping, eating, cooking, bathing and sanitation,
               whether furnished or unfurnished, that is let or rented for valuable consideration. There
               may be more than one rental unit on a premise. In a multifamily residence or apartment
               building, each residential unit or apartment constitutes a separate dwelling unit. The
               term dwelling unit does not include a dormitory room at a postsecondary educational
               institution, a room at a shelter for the homeless or the abused, or a hotel room.

       D.      Lessor means a person who leases or rents a dwelling unit as, or on behalf of, a
               landlord.

        E.     Occupant means a person, age 18 or older, who resides at a dwelling unit. A temporary
               guest of an occupant is not an occupant for the purposes of this ordinance.

        F.     Unauthorized alien means an alien who does not have authorization of employment in
               the United States, as defined by United States Code Title 8, Section 1324a(h)(3). The
               City shall not conclude that an individual is an unauthorized alien unless and until an
               authorized representative of the City has verified with the federal government, pursuant
               to United States Code Title 8, Section 1373(c), such individual's lack of authorization of
               employment in the United States.

        G.     Business entity means any person, group of persons, partnership or corporation that
               engages in any activity, enterprise, profession or occupation for financial gain, benefit, or
               livelihood, and shall include all such activities, enterprises, professions, or occupations,
               whether preformed in one or more establishments by one or more corporate or other
               organizational units, including departments or establishments operated through leasing
               arrangements, whether for profit or not-for-profit. The term business entity shall include
               but not be limited to contractors, subcontractors, self-employed individuals, partnerships,
               and corporations. The term business entity shall include both business entities that are
               required to obtain a license or permit to conduct business in the City of Fremont, and
               businesses that are not required to obtain a license or permit to conduct business in the
               City of Fremont.

       H.      Work means any job, task, employment, labor, personal services, or any other activity
               for which compensation is provided, expected, or due, including but not limited to all
               activities conducted by business entities.




                                                   A-2
4:24-cv-03123-SMB-JMD                Doc # 1       Filed: 07/09/24        Page 12 of 53 - Page ID # 12



        I.       E-Verify Program means the electronic verification of employment authorization
                 program of the Illegal Immigration Reform and Immigration Responsibility Act of 1996,
                 PL. 104-208, United States Code Title 8, Section 1324a, and operated by the United
                 S:ates Department of Homeland Security (or a successor program established by the
                 federal government).

        J.       Systematic Alien Verification for Entitlements (SAVE) Program means the electronic
                 program created pursuant to the Immigration Reform and Control Act of 1986 (I RCA),
                 P L. 99-603, and the Personal Responsibility and Work Opportunity Reconciliation Act of
                 1996 (PRWORA), P.L. 104193, which enables a federal, state, or local government
                 entity to confirm with the United States Department of Homeland Security an alien's
                 immigration status (or a successor program or method of confirmation of immigration
                 status established by the federal government).

        K.       Business license means any license, permit, occupation tax registration, business
                 registration, or registration certification issued to a business entity by the City, including
                 but not limited to all such licenses and permits described under the Fremont Municipal
                 Code, Ordinance No. 3139.

        L.       City means the City of Fremont, Nebraska.

2. HARBORING ILLEGAL ALIENS:

A. It is unlawful for any person or business entity that owns a dwelling unit in the City to harbor an illegal
          alien in the dwelling unit, knowing or in reckless disregard of the fact that an alien has come to,
          entered, or remains in the United States in violation of law, unless such harboring is otherwise
          expressly permitted by federal law.

        1.      For the purpose of this section, to let, lease, or rent a dwelling unit to an illegal alien,
                knowing or in reckless disregard of the fact that an alien has come to, entered, or
                remains in the United States in violation of law, shall be deemed to constitute harboring.
                To suffer or permit the occupancy of the dwelling unit by an illegal alien, knowing or in
                reckless disregard of the fact that an alien has come to, entered, or remains in the
                United States in violation of law, shall also be deemed to constitute harboring.

        2.      Condition of lease. An occupant may not enter into a contract for the rental or lease of a
                dwelling unit in the City unless the occupant is either a U.S. citizen or national, or an
                alien lawfully present in the United States according to the terms of United States Code
                Title 8, Section 1101 et seq. An occupant who is neither a U.S. citizen or national, nor an
                alien lawfully present in the United States, who enters into such a contract shall be
                deemed to have breached a condition of the lease. An occupant who is an alien who
                subsequent to the beginning of his lease becomes unlawfully present in the United
                States shall be deemed to have breached a condition of the lease.

        3.       Prospective Application Only. This Ordinance shall apply only to contracts to let, lease,
                 or rent dwelling units that are entered into and tenancies that begin after the date that
                 the Ordinance becomes effective.

        4.      The legal obligations imposed by this Section shall be enforced through the process
                • described in Provisions 3 and 4 of this Ordinance, below.




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4:24-cv-03123-SMB-JMD              Doc # 1       Filed: 07/09/24       Page 13 of 53 - Page ID # 13



3. ISSUANCE OF OCCUPANCY LICENSES:

A. Prior to occupying any leased or rented dwelling unit, each occupant, age 18 or older, must obtain an
     occupancy license.

B. It is the occupant's responsibility to submit an occupancy license application to the Fremont Police
       Department, pay a fee of $5 to the City, and obtain an occupancy license. If there are multiple
       occupants seeking to occupy a single rental unit, each occupant must obtain his or her own license.
       An applicant for an occupancy license may designate the owner or manager of the dwelling unit as
       his agent to collect the required information and submit the required application form(s), signed by
      the applicant, to the Fremont Police Department on the applicant's behalf. The City may establish a
       procedure whereby an applicant (or designated owner or agent) may submit the required application
      form(s), signed by the applicant, via facsimile or website portal.

C. The owner or manager of any dwelling unit must notify each prospective occupant of this requirement
    and shall not permit occupancy of a dwelling unit unless the occupant first obtains an occupancy
    license.

D. Each occupancy license is valid only for the occupant for as long as the occupant continues to occupy
    the dwelling unit for which such license was applied. Any relocation to a different dwelling unit
    requires a new occupancy license.

E. Applications for occupancy licenses shall be made upon forms furnished by the City for such purposes
     and shall require the following information:

            (1) Full legal name of occupant;
            (2) Mailing address of occupant;
            (3) Address of dwelling unit for which occupant is applying, if different from mailing address;
            (4) Name and business address of dwelling unit owner or manager;
            (5) Date of lease commencement;
            (6) Date of birth of occupant;
            (7) Occupant's country or citizenship;
            (8) Full legal name and date of birth of each minor dependent residing with occupant;
            (9) (a) in cases in which the applicant is a United States citizen or national, a signed
                declaration that the applicant is a United States citizen or national on a form provided by
                the City, which notifies the applicant that knowingly making any false statement or claim
                that he or she is, or at any time has been, a citizen or national of the United States, with
                the intent to obtain a state benefit or service is a crime under United States Code Title
                18, Section 1015(e);
                                               or

                (b) in cases in which the applicant is not a United States citizen or national, an
                identification number assigned by the federal government that the occupant believes
                establishes his lawful presence in the United States (examples include, but are not
                limited to: resident alien card number, visa number, "A" number, 1-94 registration
                number, employment authorization number, or any other number on a document issued
                by the U.S. Government). If the alien does not know of any such number, he shall so
                declare. Such a declaration shall be sufficient to satisfy this requirement.



F. Upon receipt of a complete signed application and the payment of the application fee as set forth
    above, the City shall immediately issue an occupancy license. The City shall not deny an occupancy
    license to any occupant who submits a completed application and pays the application fee.




                                                    A-4
4:24-cv-03123-SMB-JMD                Doc # 1        Filed: 07/09/24        Page 14 of 53 - Page ID # 14



G. All information contained in occupancy license applications shall be maintained as confidential by the
     City, except that the information provided on an application may be disclosed to other government
     entities where authorized by law, pursuant to United States Code Title 8, Section 1373.

H. It shall be a violation of this section for a lessor to lease or rent a dwelling unit without obtaining and
      retaining a copy of the occupancy license of every known occupant of the dwelling unit.

I. It shall be a violation of this section for a lessor to lease a dwelling unit without including in the terms of
       the lease a provision stating that occupancy of the premises by a person, age 18 or older, who does
       not hold a valid occupancy license constitutes an event of default under the lease.

J. It shall be a violation of this section for a landlord or any agent of a landlord with authority to initiate
     proceedings to terminate a lease or tenancy to knowingly permit an occupant to occupy a dwelling
     unit without a valid occupancy license. It is a defense to a prosecution under this paragraph that the
     landlord or agent has commenced and diligently pursued such steps as may be required under the
     applicable law and lease provisions to terminate the lease or tenancy.

K. Any person who violates this section shall be subject to a fine of $100 for each such violation, upon
    conviction in the County Court for Dodge County.

L. The lease or rental of a dwelling unit without obtaining and retaining a copy of the occupancy license
     of every known occupant, age 18 or older, shall be a separate violation for each occupant in a
     dwelling unit for which no license is obtained and retained, and for each day of such occupancy,
     beginning on the 46th day after the date of a revocation notice under Section 5.

4. ENFORCEMENT OF HARBORING AND OCCUPANCY PROVISIONS

Notwithstanding any other provision of this Ordinance, the Fremont Police Department (Hereinafter
"Department") shall enforce the requirements of this Ordinance as follows.

A.      Promptly after issuance of an occupancy license to any occupant who has not declared himself
        or herself to be either a citizen or a national of the United States, the Department shall, pursuant
        to Title 8, United States Code, Section 1373(c), request the federal government to ascertain
        whether the occupant is an alien lawfully present in the United States. The Department shall
        submit to the federal government the identity and immigration status information contained on
        the application for the occupancy license, along with any other information requested by the
        federal government. The Department may enter into a memorandum of understanding to use the
        Systematic Alien Verification for Entitlements (SAVE) Program operated by the U.S. Department
        of Homeland Security, or utilize any other process or system designated by the federal
        government.

B.      If the federal government reports that the occupant is not lawfully present in the United States,
        the Department shall send a deficiency notice to the occupant, at the address of the dwelling unit
        shown on the application for occupancy license. The deficiency notice shall state that on or
        before the 60th day following the date of the notice, the occupant may seek to obtain a correction
        of the federal government's records and/or provide additional information establishing that the
        occupant is lawfully present in the United States. If the occupant provides such additional
        information, the Department shall promptly submit that information to the federal government.
        The occupant may also submit information directly to the federal government.




                                                       A-5
4:24-cv-03123-SMB-JMD             Doc # 1       Filed: 07/09/24      Page 15 of 53 - Page ID # 15



C.    If the federal government notifies the Department that it is unable to conclusively ascertain the
      immigration status of the occupant, or that the federal government's ascertainment of
      immigration status is tentative, the Department shall take no further action until final
      ascertainment of the immigration status of the occupant is received from the federal government.
      The Department shall not attempt to make an independent determination of any occupant's
      immigration status. If the federal government notifies the Department that more information is
      required before the federal government can issue a final ascertainment of the occupant's
      immigration status, or that the occupant may contest the federal government's ascertainment of
      status, the Department shall notify the occupant accordingly.

D.    No earlier than the 61st day after a deficiency notice has been sent to an occupant, the
      Department shall again make an inquiry to the federal government seeking to ascertain the
      immigration status of the occupant. If the federal government reports that the occupant is an
      alien who is not lawfully present in the United States, the Department shall send a revocation
      notice to both the occupant and the lessor. The revocation notice shall revoke the occupant's
      occupancy license effective 45 days after the date of the revocation notice.

E.     The terms of this section shall be applied uniformly, and enforcement procedures shall not differ
       based on a person's race, ethnicity, religion, or national origin.

F.     Judicial review shall also be available as follows:

      1.      Any landlord or occupant who has received a deficiency notice or a revocation notice
              may seek pre-deprivation or post-deprivation judicial review of the notice by filing suit
              against the City in a court of competent jurisdiction.

      2.      In the event that such a suit is filed prior to or within fifteen days after the date of the
               relevant revocation notice, if any, revocation shall be automatically stayed until final
               conclusion of judicial review.

      3.      The landlord or occupant may seek judicial review of the question of whether the
              Department complied with the provisions of this Ordinance or other relevant provisions
              of federal, state, or City law, or the question of whether the occupant is an alien not
              lawfully present in the United States, or of both such questions.

      4.      In a suit for judicial review in which the question of whether the occupant is an alien not
              lawfully present in the United States is to be decided, that question shall be determined
              under federal law. In answering the question, the court shall defer to any conclusive
              ascertainment of immigration status by the federal government.

      5.      The court may take judicial notice of any ascertainment of the immigration status of the
              occupant previously provided by the federal government. The court may, either sua
              sponte or at the request of a party, request the federal government to provide, in
              automated, documentary, or testimonial form, a new ascertainment of the immigration
              status of the occupant pursuant to United States Code Title 8, Section 1373(c). The
              most recent ascertainment of the immigration status of an individual by the federal
              government shall create a rebuttable presumption as to the individual's immigration
              status.

5. BUSINESS LICENSES, CONTRACTS OR GRANTS; THE E-VERIFY PROGRAM.

A.    It is the policy of the City to discourage business entities from knowingly recruiting, hiring for
      employment, or continuing to employ any person who is an unauthorized alien to perform work
      within the City.




                                                   A-6
 4:24-cv-03123-SMB-JMD           Doc # 1       Filed: 07/09/24          Page 16 of 53 - Page ID # 16



B.    This Section shall not apply to the hiring of an independent contractor by a business entity, or to
      the intermittent hiring of casual labor for domestic tasks customarily performed by the residents
      of a dwelling. Such independent contractors or laborers are not employees within the meaning of
      this Section. This Section shall be interpreted to be fully consistent with United States Code Title
      8, Section 1324a, and with all other applicable provisions of federal law.

C.    An authorized representative of any business entity that applies for any business license or
      permit in the City, or is awarded a contract for work to be performed in the City, or applies for
      any grant or loan from the City shall be required to execute an affidavit to the effect that the
      business entity does not knowingly employ any person who is an unauthorized alien. The
      business entity shall also provide documentation confirming that the business entity has
      registered in the E-Verify Program. Compliance with this section shall be a condition of any
      license or permit granted by the City, any contract awarded by the City and of any grant or loan
      given by the City.

D.    All agencies of the City shall register in the E-Verify Program and use the EVerify Program to
      verify the authorization of employment in the United States of each employee hired after such
      registration.

E.    Every business entity employing one or more employees and performing work within the City
      shall register in the E-Verify Program within 60 days after the effective date of this Ordinance,
      and shall use the E-Verify Program to verify the authorization of employment in the United States
      of each employee hired after such registration.

F.    Any business entity employing one or more employees that begins performing work within the
      City later than 60 days after the effective date of this Ordinance shall register in the E-Verify
      Program prior to commencing any work within the City, and shall use the E-Verify Program to
      verify the authorization of employment in the United States of each employee hired after such
      registration.

G.    In the enforcement of this Section, at no point shall any City official attempt to make an
       independent determination of the authorization of employment in the United States of any
       individual employed by a private business entity in the City.

H.    This Section shall be enforced by the City Attorney as follows:

          1. If a business entity possesses a license, permit, contract, loan, or grant issued by the City
               and violates this Section, by failing to register in the EVerify Program and verify the
               authorization of employment in the United States of each employee hired after such
               registration, the business entity shall be tried at a public hearing before the City Council.
               Due process, including notice, the opportunity to present evidence and to be heard, and
               the right to appeal to the District Court of Dodge County, shall be accorded to all parties.
               If the City Council determines that a person or business entity has violated this Section,
               it may, according to the terms of such license, permit, contract, loan or grant, revoke the
               license, cancel the contract, recall the grant or accelerate the loan and institute an action
               to collect any sums due.

          2. The City Attorney may bring a civil action against any business entity suspected of
              violating this section, by failing to register in the E-Verify Program and verify the
              authorization of employment in the United States of each employee hired after such
              registration, in a court of competent jurisdiction in Dodge County. The City Attorney may
              seek injunctive relief compelling the business entity to comply with this section.

I.    The following judicial review shall also be available:




                                                   A-7
4:24-cv-03123-SMB-JMD                 Doc # 1      Filed: 07/09/24       Page 17 of 53 - Page ID # 17



         1.       Any business entity that is subjected to enforcement under this Ordinance may seek
                  pre-deprivation or post-deprivation judicial review of the enforcement of this Ordinance
                  with respect to such business entity in any court of competent jurisdiction. While such
                  judicial review is occurring, any actions by the City to revoke a license, permit, contract,
                  loan, or grant issued by the City shall be stayed.
         2.       Any business entity or employee subject to the terms of this Ordinance may seek judicial
                  review of the question of whether the City has complied with the provisions of this
                  Ordinance or other relevant provisions of federal, state, or City law in the County Court
                  for Dodge County, or in any other court of competent jurisdiction.

SECTION 2, CONSTRUCTION AND SEVERABILITY:

    A.        The requirements and obligations of this section shall be implemented in a manner fully
              consistent with federal law regulating immigration and protecting the civil rights of all
              citizens, nationals, and aliens.

    B.        If any part or provision of this Ordinance is in confiict or inconsistent with applicable
              provisions of federal or state statutes, or is otherwise held to be invalid or unenforceable by
              any court of competent jurisdiction, such part of provision shall be suspended and
              superseded by such applicable laws or regulations, and the remainder of this Chapter shall
              not be affected thereby.

SECTION 3. REPEAL:

Any ordinance or parts of ordinances of the City of Fremont in conflict herewith are hereby repealed.

SECTION 4. EFFECTIVE DATE:




eASSED JUNE       a 20,0                                  o,m:l:D
This Ordinance shall be in full force and effect from and after passage and publication according to law.




                                                            Donald B. Edwards, Mayor

ATTEST:




                          ~ ': .
                      C, City Clerk




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4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 18 of 53 - Page ID # 18

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                                    B-1
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 19 of 53 - Page ID # 19




                                    B-2
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 20 of 53 - Page ID # 20




                                    B-3
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 21 of 53 - Page ID # 21




                                    B-4
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 22 of 53 - Page ID # 22




                                    B-5
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 23 of 53 - Page ID # 23




                                    B-6
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 24 of 53 - Page ID # 24




                                    B-7
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 25 of 53 - Page ID # 25




                                    B-8
       4:24-cv-03123-SMB-JMD     Doc # 1      Filed: 07/09/24      Page 26 of 53 - Page ID # 26

                                                                                                         C
                      November 9, 2021

                      National Records Center
                      FOIA/PA Office
                      P.O. Box 648010
                      Lee’s Summit, MO 64064-8010
                      Email: USCIS.FOIA@USCIS.DHS.GOV

                      Re: Request to U.S. Citizenship and Immigration Services Under
                      Freedom of Information Act

                      VIA EMAIL

                      To Whom It May Concern:

                      The American Civil Liberties Union of Nebraska (“ACLU”) submits this
                      Freedom of Information Act (“FOIA”) request seeking disclosure of records
                      pertaining to cooperation and communication among federal, state, and local
134 S. 13th St.       agencies regarding the enforcement of ordinances in Fremont, Nebraska and
#1010                 Scribner, Nebraska meant “to prohibit the harboring of illegal aliens or hiring
Lincoln, NE 68508
(402) 476-8091        of unauthorized aliens.”
aclunebraska.org


                                                  I.      BACKGROUND

                      In 2010, the City of Fremont, located in Dodge County, Nebraska, enacted
                      an ordinance that requires renters in Fremont to obtain occupancy licenses,
                      the applications for which require the renter attest to the renter’s citizenship
                      or immigration status (“Ordinance”). If the renter does not attest to being a
                      U.S. citizen and cannot provide documentation reflecting their lawful
                      presence, the Fremont Police Department will request the federal government
                      “to ascertain whether the occupant is an alien lawfully present in the United
                      States.” The ordinance permits the Police Department to enter into a
                      memorandum of understanding (MOU) with the U.S. Department of
                      Homeland Security (“DHS”) to access their Systematic Alien Verification for
                      Entitlements (SAVE) Program. If the federal government reports that the
                      renter does not have lawful status, the Police Department revokes the
                      occupancy license.

                      In 2018, the city of Scribner, Nebraska passed an identical ordinance to the
                      Fremont Ordinance (“Scribner Ordinance”). Scribner is located about twenty
                      miles northwest of Fremont, also in Dodge County. A copy of Fremont’s
                      ordinance is attached hereto at Attachment 1. A copy of Scribner’s ordinance
                      is attached hereto as Attachment 2.




                                                 C-1
4:24-cv-03123-SMB-JMD      Doc # 1       Filed: 07/09/24       Page 27 of 53 - Page ID # 27




               The City of Fremont is a registered agency with SAVE for benefit categories
               “commercial license,” “occupational license,” and “civilian license.”1 The
               City of Scribner does not appear as a registered agency with SAVE.

                                       II.      RECORDS REQUESTED

               The ACLU seeks any records of communication received from or transmitted
               to an official or entity of the City of Fremont, including any agent or
               contractor of Fremont regarding the implementation and enforcement of the
               Ordinance. The request seeks any pertinent records from 2014 to present.

               This request includes but is not limited to:

                   •   E-mails and letters from Fremont officials, agents, or contractors or
                       any individual on behalf of the city of Fremont seeking the
                       verification of citizenship or immigration status of any individual and
                       any response by DHS thereto;

                   •   Any records of the Memorandum of Understanding (“MOU”)
                       between DHS-USCIS and Fremont, including any and all approved
                       and executed MOU’s permitting Fremont to access the SAVE
                       Program and Fremont’s application to register with the SAVE
                       program.

               The ACLU also seeks any records of communication received from or
               transmitted to an official or entity of the City of Scribner, including any agent
               or contractor of Scribner regarding the implementation and enforcement of
               the Scribner Ordinance. The request seeks any pertinent records from 2018
               to present.

               This request includes but is not limited to
                  • E-mails and letters from Fremont officials, agents, or contractors or
                      any individual on behalf of the city of Fremont seeking the
                      verification of citizenship or immigration status of any individual and
                      any response by DHS thereto;

                   •   Any records of the Memorandum of Understanding between DHS-
                       USCIS and Scribner, including any and all approved and executed
                       MOU’s permitting Scribner to access the SAVE Program and
                       Scribner’s application to register with the SAVE program.

               With respect to the form of production, pursuant to 5 U.S.C. § 552(a)(3)(B),
               the ACLU requests that responsive electronic records be provided

               1
                 SAVE Agency Search Tool, U.S. Citizenship and Immigration Services,
               https://www.uscis.gov/save/save-agency-search-
               tool?topic_id=fremont&agency_state_code[]=31&items_per_page=10.

                                             C-2
4:24-cv-03123-SMB-JMD           Doc # 1       Filed: 07/09/24   Page 28 of 53 - Page ID # 28




               electronically in their native file format, if possible. Alternatively, the ACLU
               requests that the records be provided electronically in a text-searchable,
               static-image format (PDF), in the best image quality in the agency’s
               possession.

               If this request is denied in whole or in part, the ACLU asks that you justify
               all deletions by reference to specific FOIA exemptions. The ACLU expects
               the release of all segregable portions of otherwise exempt material. The
               ACLU reserves the right to appeal a decision to withhold any information.

                         III.     APPLICATION FOR WAIVER OR LIMITATION OF
                                       FEES AND EXPEDITED PROCESSING

               The ACLU requests a waiver of document search, review, and duplication
               fees on the grounds that disclosure of the requested records is in the public
               interest and because disclosure is “likely to contribute significantly to public
               understanding of the operations or activities of the government and is not
               primarily in the commercial interest of the requester.” 5 U.S.C. §
               552(a)(4)(A)(iii). The ACLU also requests a waiver of search fees on the
               grounds that the ACLU qualifies as a “representative of the news media” and
               the records are not sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II).

                      A. The ACLU is a representative of the news media and the records are
                         not sought for commercial use.

               The ACLU requests a waiver of search fees on the grounds that the ACLU
               qualifies as a “representative of the news media” and the records are not
               sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II). The ACLU meets
               the statutory and regulatory definitions of a “representative of the news
               media” because it is an “entity that gathers information of potential interest
               to a segment of the public, uses its editorial skills to turn the raw materials
               into a distinct work, and distributes that work to an audience.” 5 U.S.C. §
               552(a)(4)(A)(ii)(III).

               The ACLU is therefore a “representative of the news media” for the same
               reasons it is “primarily engaged in the dissemination of information.” On
               account of these factors, fees associated with responding to FOIA requests
               are regularly waived for the ACLU as a “representative of the news media.”


               The ACLU requests expedited processing pursuant to 5 U.S.C. §
               552(a)(6)(E).2 There is a “compelling need” for this record, as defined in the
               statute, because the information requested is “urgen[tly]” needed by an
               organization primarily engaged in disseminating information “to inform the


               2
                   See also 6 C.F.R. § 5.5(e)(1).

                                                    C-3
4:24-cv-03123-SMB-JMD       Doc # 1       Filed: 07/09/24         Page 29 of 53 - Page ID # 29




               public concerning actual or alleged Federal Government activity.” 5 U.S.C.
               § 552(a)(6)(E)(v)(II).

               The ACLU is “primarily engaged in disseminating information” within the
               meaning of the FOIA. 5 U.S.C. § 552(a)(6)(E)(v)(II). See also 6 C.F.R. §
               5.5(e)(1)(ii). Obtaining information about government activity, analyzing
               that information, and widely publishing and disseminating that information
               to the press and public are critical and substantial components of the ACLU’s
               work and are among its primary activities. See ACLU v. U.S. Dep’t of Justice,
               321 F. Supp. 2d 24, 29 n.5 (D.D.C. 2004) (finding non-profit public interest
               group that “gathers information of potential interest to a segment of the
               public, uses its editorial skills to turn the raw material into a distinct work,
               and distributes that work to an audience” to be “primarily engaged in
               disseminating information”).3 We do this work alone and with our national
               partners and allies. The ACLU regularly creates and disseminates works in
               the form of presentations, reports, articles, interviews, testimony, social
               media, and blog posts to educate the public about the activities of the United
               States government.4 The ACLU also regularly publishes “know your rights”
               materials, fact sheets, and educational brochures and pamphlets designed to
               educate the public about civil liberties issues and government policies that
               implicate civil rights and civil liberties.5

               These records are urgently needed to inform the public about actual or alleged
               government activity. See 5 U.S.C. § 552(a)(6)(E)(v)(II). Specifically, as
               discussed above, the requested records seek to inform the public about
               enforcement of local ordinances in Nebraska that affect the housing access
               for Nebraska communities.

               Pursuant to applicable statutes and regulations, the ACLU expects a
               determination regarding expedited processing within 10 days. See 5 U.S.C. §
               552(a)(6)(E)(ii); 28 C.F.R. 16.5(e)(4); 32 C.F.R.§ 286.8(e)(1); 6 C.F.R. §
               5.5(e)(4).


               Please furnish the applicable records to the signed below.

               3
                 Courts have found that the ACLU as well as other organizations with similar missions
               that engage in information dissemination activities similar to the ACLU are “primarily
               engaged in disseminating information.” See, e.g., Leadership Conference on Civil Rights v.
               Gonzales, 404 F. Supp. 2d 246, 260 (D.D.C. 2005); ACLU, 321 F. Supp. 2d at 29 n.5;
               Elec. Privacy Info. Ctr. v. U.S. Dep’t of Defense, 241 F. Supp. 2d 5, 11 (D.D.C 2003).
               4
                See generally ACLU of Nebraska, Immigrants’ Rights,
               https://www.aclunebraska.org/en/issues/immigrants-rights.
               5
                 See generally ACLU of Nebraska, Immigrants’ Rights,
               https://www.aclunebraska.org/en/know-your-rights/ice-courthouse; ACLU of Nebraska,
               Know Your Rights with Law Enforcement, https://www.aclunebraska.org/en/know-your-
               rights/rights-with-law-enforcement.


                                              C-4
4:24-cv-03123-SMB-JMD       Doc # 1   Filed: 07/09/24     Page 30 of 53 - Page ID # 30




               Thank you for your prompt attention to this matter.



               Sincerely,




               Jane Seu
               Immigration Legal Fellow
               ACLU of Nebraska
               134 S. 13th Street
               Suite 1010
               Lincoln, NE 68508
               jseu@aclunebraska.org
               402-476-8091 ext. 107




                                          C-5
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 31 of 53 - Page ID # 31




                         Attachment 1




                                    C-6
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 32 of 53 - Page ID # 32




                                    C-7
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 33 of 53 - Page ID # 33




                                    C-8
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 34 of 53 - Page ID # 34




                                    C-9
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 35 of 53 - Page ID # 35




                                    C-10
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 36 of 53 - Page ID # 36




                                    C-11
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 37 of 53 - Page ID # 37




                                    C-12
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 38 of 53 - Page ID # 38




                                    C-13
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 39 of 53 - Page ID # 39




                                    C-14
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 40 of 53 - Page ID # 40




                         Attachment 2




                                    C-15
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 41 of 53 - Page ID # 41




                                    C-16
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 42 of 53 - Page ID # 42




                                    C-17
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 43 of 53 - Page ID # 43




                                    C-18
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 44 of 53 - Page ID # 44




                                    C-19
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 45 of 53 - Page ID # 45




                                    C-20
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 46 of 53 - Page ID # 46




                                    C-21
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 47 of 53 - Page ID # 47




                                    C-22
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 48 of 53 - Page ID # 48




                                    C-23
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 49 of 53 - Page ID # 49

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                                    D-1
4:24-cv-03123-SMB-JMD   Doc # 1   Filed: 07/09/24   Page 50 of 53 - Page ID # 50




                                    D-2
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                                                                          - Jane Seu - Outlook



  From: Jane Seu
                                                                                                                                        E
  Sent: Monday, December 6, 2021 2:52 PM
  To: FOIAPAQuestions@uscis.dhs.gov <FOIAPAQuestions@uscis.dhs.gov>;
  FOIASIG.NRC@uscis.dhs.gov <FOIASIG.NRC@uscis.dhs.gov>
  Cc: Rose Godinez <rgodinez@aclunebraska.org>
  Subject: COW2021004654 Clarification

  Good morning,

  I am writing on behalf of the ACLU of Nebraska in response to clarification from USCIS FOIA
  under control number COW2021004654. On November 9, 2021, ACLU of Nebraska ("ACLU")
  requested any records of communication received from or transmitted to any official, personnel,
  contractor or agent of the City of Fremont regarding implementation and enforcement of the
  Fremont Ordinance from 2014 to present. ACLU of Nebraska also requested any records of
  communication received from or transmitted to any official, personnel, contractor, or agent of
  Scribner regarding implementation and enforcement of the Scribner Ordinance from 2018 to
  present. The ACLU is still seeking the clarifying information and will respond accordingly.
  In the same request dated November 9, 2021, the ACLU also requested "Any records of the
  Memorandum of Understanding (“MOU”) between DHS-USCIS and Fremont, including any
  and all approved and executed MOU’s permitting Fremont to access the SAVE Program and
  Fremont’s application to register with the SAVE program" and "Any records of the
  Memorandum of Understanding between DHS-USCIS and Scribner, including any and all
  approved and executed MOU’s permitting Scribner to access the SAVE Program and Scribner’s
  application to register with the SAVE program."

  USCIS FOIA has not provided a response on the records of the MOU between DHS-USCIS and
  Fremont or the MOU between DHS-USCIS and Scribner of the initial request. Please provide
  these records and any response thereto to the signed below.


  Jane Seu
  Pronouns: she/her
  Immigration Legal Fellow | ACLU of Nebraska
  134 S. 13th St. #1010, Lincoln NE 68508
  402-476-8091 ext. 107
  jseu@aclunebraska.org
  www.aclunebraska.org




  *Admitted in Pennsylvania; admission to Nebraska bar pending
  ***********************************************************************************************************************************
  *
  This message may contain information that is confidential or legally privileged. If you are not
  the intended recipient, please immediately advise the sender by reply E-mail that this message
  has been inadvertently transmitted to you and delete this E-mail from your system.
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https://outlook.office.com/mail/id/AAQkAGFiYWQ1YmU5LTU0MTYtNGU0YS1iMDhkLThhOGY5OGNmZGQ1ZgAQAL5a3im4GulHrZUcb6QR8ZA%3D
2/3/23, 1:39 PM4:24-cv-03123-SMB-JMD         Doc # 1      Filed:
                                                              Mail07/09/24           Page 52 of 53 - Page ID # 52
                                                                   - Jane Seu - Outlook



      Automatic reply: COW2021004654 Clarification                                                                      F
      FOIAPAQuestions <foiapaquestions@uscis.dhs.gov>
      Mon 12/6/2021 2:54 PM
      To: Jane Seu <jseu@aclunebraska.org>
      [EXTERNAL]
      We have received your inquiry in the USCIS FOIAPAQuestions mailbox. We will respond to
      your inquiry as soon as possible. This mailbox is solely for the purpose of answering questions
      regarding USCIS Freedom of Information Act (FOIA) and Privacy Act (PA) requests.

      Make Your Next Request Faster, Easier Online using our new Freedom of
      Information Act Records SysTem (FIRST). Whether you are a U.S. citizen, an applicant, or an
      immigration attorney, our online Freedom of Information Act (FOIA) and Privacy Act (PA)
      services are a far more efficient way for you to receive records. Making your future FOIA and PA
      requests online, delivers your records faster and helps us improve our operations to better serve
      you, the immigration community, and the American people. If you wish to submit a new
      FOIA/PA request or to check on the status of a previously submitted request, please visit
      www.uscis.gov/FOIA.

      As this reply is automatically generated, do not respond to this notification.




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https://outlook.office.com/mail/id/AAQkAGFiYWQ1YmU5LTU0MTYtNGU0YS1iMDhkLThhOGY5OGNmZGQ1ZgAQAL5a3im4GulHrZUcb6QR8ZA%3D   1/1
2/3/23, 1:38 PM4:24-cv-03123-SMB-JMD              Doc # 1        Filed:
                                                                     Mail07/09/24           Page 53 of 53 - Page ID # 53
                                                                          - Jane Seu - Outlook



      Re: COW2021004654 Clarification                                                                                                  G
      Jane Seu <jseu@aclunebraska.org>
      Mon 1/10/2022 10:36 AM
      To: FOIAPAQuestions@uscis.dhs.gov <foiapaquestions@uscis.dhs.gov>;FOIASIG.NRC@uscis.dhs.gov
      <FOIASIG.NRC@uscis.dhs.gov>
      Good morning,

      I submitted the below clarification and request on December 6, 2021 and have not yet received a
      response. Please provide an updated response or by when a response can be expected.

      Best,

      Jane Seu
      Pronouns: she/her
      Immigration Legal Fellow | ACLU of Nebraska
      134 S. 13th St. #1010, Lincoln NE 68508
      402-476-8091 ext. 107
      jseu@aclunebraska.org
      www.aclunebraska.org




      *Admitted in Pennsylvania; admission to Nebraska bar pending
      ***********************************************************************************************************************************
      *
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      the intended recipient, please immediately advise the sender by reply E-mail that this message
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